Case 1:21-cr-20106-RNS Document 4 (Court only) Entered on FLSD Docket 02/24/2021
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AO 442 (Rev 01/09) -Arrest Warrant

UNITED STATES DISTRICT COURT

 

for the

i
Southern District of Florida '
United States of America \
v. )
) °
Martin Valdes, et al. ) Case No. !

)

_ ) 21-20106-CR-SCOLA/GOODMAN
Defendants |
ARREST WARRANT
f
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) — Duniel Tejeda 1
who is accused of an offense or violation based on the following document filed with the court:

 

@ Indictment O Superseding Indictment “J Information © Superseding Information O Cémplaint

J Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as foilows:

Conspiracy to Commit Mail and Wire Fraud, in violation of Title 18, United States Code, Section 1349; Mail Fraud, in violation of
Title 18, United States Code, Section 1341

 

Date: 2/23/21 |

(ssuing officer's sig iaure

 

 

 

 

 

at (city and state}

 

City and state: _ Miami, Florida a __Angela E. Noble, Clerk of Court / Court Administrator
Printed name and title |
Return | -
This warrant was received on (date) ____. and the person was-arrested on (date) |
|
4

Date: __

 

\ Arresting officer's signature :

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER: -

 

BOND RECOMMENDATION

DEFENDANT: DUNIEL TEJEDA

 

$75,000 PSB
(Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)

 

By:

LL

AUSA: DYY Atty Lauren Bfner :

Last Known Address:

 

 

 

What Facility:

 

 

Agent(s): S/A Megan Allen, FDA
(FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (OTHER)

 
